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IN THE UNITED STATES DISTRICT COURT ith HK'SL~ D.C.
FOR THE WESTERN DISTRICT OF TENNESSEE 95 APR 21 ph _
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%,§§~»;1_<__)§ U.S. 5§?_1§,@,
CARL EDWARD FLAKE, ) ' "" N-~J@CKSON'
)
Plaintiff, )
)
vs. ) No. 03-1240-T/An
)
cECo DooR PRoDUcTs a/k/a )
THE AssA ABLoY GROUP, )
)
Defendant. )

 

ORDER GRANTING MOTION FOR SUMMARY IUDGMENT

 

The plaintiff, Carl Edward Flake, filed this action on September 12, 2003, against his
former employer, Ceco Door Products a/k/a Assa Abloy Group, pursuant to the America.ns
With Disabilities Act (“ADA”), 42 U.S.C. § 12101 et seq., and the Family and Medical
Leave Act (“FMLA”), 29 U.S.C. § 2601 etseq. Plaintiff alleges that he was terminated from
his employment in violation of these statutes. On October 28, 2004, defendant filed a
motion for summary judgment Af’ter receiving two extensions of time to respond,
plaintiff’s response Was due on December 10, 2004. However, no response Was filed by that
deadline.

Before the Court could issue a ruling on the defendant’s motion for summary
judgment, the parties filed a joint motion for a status conference on January 12, 2005,

acknowledging that there had been no response to the summary judgment motion and

Thts document entered on the docket shoot in compliance

with Rule 58 and!or 79 (a) FRCP on 35

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indicating that modification of the scheduling order would be necessary. The Court referred
the motion to U.S. Magistrate Judge S. Thomas Anderson, who held a status conference on
February 8, 2005 . As a result of that conference, an amended scheduling order was entered
which, inter alia, set a deadline of March 10, 2005 for plaintiff to respond to the pending
motion for summary judgment On March 10, plaintiff filed a request for a one-day
extension of time, which Was granted However, no response has ever been filed.

Motions for summary judgment are governed by Rule 56 of the Federal Rules of Civil
Procedure. To prevail on a motion for summary judgment, the moving party has the burden
of showing the “absence of a genuine issue of material fact as to an essential element of the
nonmovant‘s case.” Street v. J.C. Bradford & Co., 886 F.2d 1472, 1479 (6th Cir. 1989). The
moving party may support the motion with affidavits or other proof or by exposing the lack
of evidence on an issue for which the nonmoving party will bear the burden of proof at trial.
Celotex Co;p. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but, “by affidavits or as otherwise provided in this rule, must set forth specific
facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e).

“If the defendant . . . moves for summary judgment . . . based on the lack of proof of
a material fact, . . . [t]he mere existence of a scintilla of evidence in support of the plaintiffs
position will be insufficient; there must be evidence on which the jury could reasonably find
for the plaintiff.” Anderson v. Libegy Lobby, Inc., 477 U.S. 242, 252 (1986). The court's

function is not to weigh the evidence, judge credibility, or in any way determine the truth

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of the matter, however. Anderson, 477 U.S. at 249. Rather, “[t]he inquiry on a summary
judgment motion . . . is . . . ‘whether the evidence presents a sufficient disagreement to
require submission to a [trier of fact] or whether it is so one-sided that one party must prevail
as a matter of law.”’ _SM, 886 F.2d at 1479 (quoting Anderson, 477 U.S. at 251-52).
Doubts as to the existence of a genuine issue for trial are resolved against the moving party.
Adickes v. S. H. Kress & Co., 398 U.S. 144, 158-59 (1970).

If a party does not respond to a motion for summary judgment, the Federal Rules of
Civil Procedure provide that “summary judgment, if appropriate, shall be entered against
him.” Fed. R. Civ. P. 56(e). The fact that plaintiff did not respond does not require granting
defendant’s motion. However, if the allegations of the complaint are contravened by
defendant’s affidavits and defendant is entitled to judgment as a matter of law on those facts,
then summary judgment is appropriate Smith v. Hudson, 600 F.2d 60, 65 (6th Cir. 1979).

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The defendant is in the business of manufacturing door products. The undisputed
evidence in the record shows that plaintiff had been employed by the defendant at its facility
in Gibson County, Tennessee, for over twenty years. During that time, plaintiff held various
specific jobs within the manufacturing facility. At the time of his discharge in June 2002,
plaintiff had held the job of machine operator B for approximately two years. That job

involved using a crane to pull stock from racks and setting it up on a production line to be

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cut, putting up stock with a crane or a forklift, and entering what he had done into a
computer so there would be a record of what was manufactured (Pl.’s Dep. at 46-47.)

On January 15, 2002, plaintiffs supervisor, Scott Gatlin, wrote plaintiff up after
catching him allegedly sleeping on the job. Plaintiff denied that he had been sleeping, and
told Gatlin that he was praying. He was shown the write-up, but refused to sign it. L at
69-70, 74-76. The write-up provides:

Talked with Carl Flake today 1-15-2002 about making sure that at no time is

he to be asleep. This means if his eyes are closed and he is not able to perform

his duties he is sleeping Carl has stated in the past that he prays, this notice

is to make sure that everyone is on the same page and Carl understands that

in the future when his eyes are closed and he is not on break he will be though

[sic] of as sleeping and action will be taken up to discharge...

I_d., Ex. 1.

On June 18, 2002, plaintiff testified that he was at his desk when he saw Gatlin
standing next to him. Gatlin said something to plaintiff, and there was a brief exchange;
Gatlin then walked away. I_d. at 79-80. That afternoon, Gatlin told Janice McCartney, who
was defendant’s Human Resources Manager at the time, that he had caught plaintiff asleep
again and asked her what could be done about it. There was no other witness to that
particular incident. McCartney advised Gatlin that they should discuss it the next morning
with Denny Ruetten, the vice president of manufacturing (McCartney Aff. jj 3.)

The next day, June 19, 2002, Ruetten advised Gatlin to have plaintiff discharged, but

McCartney placed plaintiff on suspension pending an investigation She then spoke to

various individuals, including Keith Ing, Richard Bailey and plaintiffs lead person, Ray

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Bynum. Each of these three told McCartney that, while they did not observe the June 18
incident, they had seen plaintiff sleeping on work time after January 15, when he was first
written up. § 1[1] 4-5. In his deposition, plaintiff admitted it Was possible that he fell asleep
at his desk on work time after January 15. (Pl.’s Dep. at 78.) McCartney reported these
findings back to Ruetten and they agreed that plaintiff should be discharged (McCartney
Aff. jj 6.)

After being suspended pending an investigation on June 19, plaintiff went home and
told his wife what had happened She told plaintiff that it could be true that he was sleeping
at work, because he sometimes fell asleep that way at home; she advised him to go to a
doctor. Plaintiff made an appointment with Dr. Renee Hendren for June 24, 2002. (Pl.’s
Dep. at 86.) He had not yet been advised of the outcome of McCartney’s investigation §
at 87.

At the appointment on June 24, Dr. Hendren did not diagnose plaintiff with any
particular condition. id at 88. However, she did schedule plaintiff for a sleep study on
September 17, 2002, On the paperwork plaintiff was given to take back to work with him,
Dr. Hendren noted “possible sleep apnea.” ld_., Ex. 2. Plaintiff took the medical
documentation back to work on June 24, immediately after his appointment, and left it with
the receptionist in McCartney’s office. I_d at 92-94.

That evening, McCartney called plaintiff at horne and asked him to come and meet

with her the next morning, June 25. I_d_. at 97. At that meeting, plaintiff was told that as a

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result of McCartney’s investigation, he was being discharged Plaintiff denied sleeping on
the job, stating again that he was praying. (McCartney Aff. jj 7.) When plaintiff asked
McCartney if she had seen the medical papers he left with the receptionist the day before,
she told him she had not. (Pl.’s Dep. at 100-01.) He was given a separation notice stating
that he was discharged effective June 25 , 2002 for sleeping on the job. I_d, Ex. 4. However,
plaintiff was told that he could have his case reviewed by a peer review board if he wished,
and he elected to do so. I_d_. at 10l. Af`ter a hearing, the peer review committee could not
reach a consensus on plaintiff s case. Therefore, Ruetten sent plaintiff a letter dated July 23,
2002, advising him of the committee’s failure to make a decision and stating that he,
Ruetten, was upholding the termination I_d at 107-08 & Ex. 3.

Following the sleep study, Dr. Ron Taylor diagnosed plaintiff with restless leg
syndrome, a condition that causes a person’s legs to jerk and move involuntarily while they
are sleeping, interrupting and/or preventing normal sleep. Therefore, the person may
experience excess sleepiness during the day. I_d~. at 127-28. However, plaintiff testified that,
at the time of his discharge, he did not have any condition Which affected his ability to do
the job of machine operator B, and that he was fully able to perform that job without any
limitations or restrictions. I_d at 130-31.

Americans with Disabilities Act
The ADA prohibits an employer from discriminating against persons with disabilities

Specifically, the Act provides:

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No covered entity shall discriminate against a qualified individual With a

disability because of the disability of such individual in regard to job

application procedures, the hiring, advancement, or discharge of employees,

employee compensation, job training, and other terms, conditions, and

privileges of employment
42 U.S.C. § 121 12(a). A “qualified individual with a disability” within the meaning of this
section is defined as “an individual with a disability who, with or without reasonable
accommodation, can perform the essential functions of the employment position that such
individual holds or desires.” 42 U.S.C. § 12111(8).

In order to establish a claim of disability discrimination, plaintiff must prove that
l) he is an individual with a disability; 2) he is “otherwise qualified” to perform the essential
functions of the job, with or without reasonable accommodation; and 3) he was either denied

a reasonable accommodation or was subject to an adverse employment decision solely

because of his disability. w Roush v. Weastec Inc., 96 F.3d 840, 843 (6th Cir. 1996);

 

Monette v. Electronic Data Svs. Corp., 90 F.3d 1173, 1178 (6th Cir. 1996); Maddox v.
University of Tennessee, 62 F.3d 843, 846 (6"‘ Cir. 1995).

Where, as here, there is no direct proof of discrimination in an ADA case, the burden-
shifting framework set forth in McDonnell Douglas Co;p. v. Green, 411 U.S. 792, 802-03
(1973) and Texas Dept. of Communit_v Affairs v. Burdine, 450 U.S. 248, 252-56 (1981)
may be applied M M_one@, 90 F.3d at 1184-86. Under this analysis, a prima facie case
of disability discrimination requires plaintiff to show that 1) he is disabled within the

meaning of the ADA; 2) he was otherwise qualified for the position, with or without an

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accommodation; 3) he suffered an adverse employment decision; and 4) the position
remained open while the employer sought other applicants or the disabled person was
replaced E Kocsis v. Multi-Care Management, Inc., 97 F.3d 876, 882 (6th Cir. 1996);

Monette, 90 F.3d at 1185-86 & n.l 1; Maddox, 62 F.2d at 846.

 

 

Defendant argues that plaintiff cannot establish a prima facie case under the ADA
because he cannot prove that he is disabled The ADA defines “disability” as follows:

(A) a physical or mental impairment that substantially limits one or more

of the major life activities of such individual;

(B) a record of such impairrnent; or

(C) being regarded as having such an impairment
42 U.S.C. § 12012(2). “Maj or life activities” include “functions such as caring for oneself,
performing manual tasks, walking, seeing, hearing, speaking, breathing, leaming, and
working.” 29 C.F.R. § 1630.2(i). “Substantially limits” is defined as the inability to
perform, or a significant restriction on the ability to perforrn, a major life activity as
compared to the average person in the general population § 1630.2(])(1). In determining
whether a maj or life activity is substantially limited, the court must consider “(i) [t]he nature
and severity of the impairment; (ii) [t]he duration or expected duration of the impairment;
and (iii) [t]he permanent or long term impact, or the expected permanent or long term impact
of or resulting from the impairrnent.” § 1630.2(j)(2).

In this case, plaintiff has failed to offer any evidence that he suffers from an

impairment that substantially limits a maj or life activity. Plaintiff apparently contends that

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restless leg syndrome prevented him from getting a full night’s sleep, and was thus causing
him to fall asleep during the work day:

What it does, it wakes you up in the night and it keeps you from going, you

know, after you fall asleep, this condition shaking your legs, makes you wake

up and you don’t realize that you wake up. lt’s sort of like say if you went to

bed and you got, I think eight hours worth of sleep. In turn you usually get

like three or four hours of sleep because you woke up in and out of the night

and not realizing that you’re waking and this will cause you to fall asleep

during the day, during driving or something like that.
(Pl.’s Dep. at 127-28.) While sleeping is a maj or life activity, se_e Boerst v. General Mills
Operations, Inc., 25 Fed. Appx. 403, 406 (6"‘ Cir. Jan. 15, 2002) (unpublished disposition),
the mere failure to get a full eight hours of sleep each night is not a substantial limitation on
that life activity. I_d, at 407 (“Getting between two and four hours of sleep a night, while
inconvenient, simply lacks the kind of severity we require of an ailment before we will say
that the ailment qualifies as a substantial limitation under the ADA.”); see also Cartwright
v. Lockheed Martin Util. Servs.. Inc., 40 Fed. Appx. 147, 153 (6th Cir. July 3, 2002)
(unpublished disposition).

In order to establish a substantial limitation in the major life activity of working,
plaintiff must show that he is “significantly restricted in the ability to perform either a class
of j cbs or a broad range of jobs in various classes as compared to the average person having

comparable training, skills and abilities.” 29 C.F.R. § 1630.2@)(3)(i). However, plaintiff

has failed to show that he was restricted at all in his ability to work. He testified plainly that,

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at the time of his discharge, his condition did not affect his ability to do his job, without
restrictions or limitations (Pl.’s Dep. at 130-31, 137.)

The Court concludes that plaintiff cannot establish a prima facie case of disability
discrimination because he has failed to demonstrate that there are material facts in dispute
on the issue of whether he is an “qualified individual with a disability.” Therefore, the
defendant is entitled to judgment as a matter of law on plaintiffs ADA claim.

Family and Medical Leave Act

Pursuant to the FMLA, eligible employees are entitled to take up to a total of twelve
weeks of leave per year under certain circumstances, including “a serious health condition
that makes the employee unable to perform the functions of the position of such employee.”
29 U.S.C. § 2612(a)(1)(D). Under the FMLA, an employer may not “interfere with, restrain,
or deny the exercise of or the attempt to exercise, any right provided” provided by the
statute, § 2615(a)(l), and may not “discharge or in any other manner discriminate against
any individual for opposing any practice” that is unlawful under FMLA. § 2615(a)(2).
Claims under § 2615(a)(l) are referred to as “entitlement” or “interference” claims, while
claims under § 2615(a)(2) are referred to as “retaliation” or “discrimination” claims. M
v. West Publ’g Cor___p., 345 F.3d 390, 400-03 (6th Cir. 2003). The Court construes plaintiffs
allegation that he was prevented from giving notice of his medical condition as a claim that
the defendant interfered with his attempt to exercise his right to FMLA leave, in violation

Of§ 2615(3)(1).

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In order to establish a claim of interference with the exercise of the right to FMLA
leave, a plaintiff must prove: (l) that he was an eligible employee; (2) that the defendant
was an employer Within the meaning of the Act; (3) that he was entitled to leave under the
Act; and (4) that the employer interfered with plaintiffs right to take leave or otherwise
wrongfully denied the requested leave, See Strickland v. Water Works & Sewer Bd., 239
F.3d 1199, 1206-07 (11th Cir. 1999); Jeremy v. Northwest Ohio Dev. Ctr., 33 F. Supp. 2d
63 5, 638 (N.D. Ohio 1999), a ’d, 2000 WL 353524 (6th Cir. Mar. 31, 2000).

The FMLA regulations provide that it is the employer’s responsibility to designate
leave as qualifying under the FMLA, and to notify the employee of that designation 29
C.F.R. § 825.208(a). However, the employee must give the employer sufficient notice and
information to enable the employer to determine whether the leave is FMLA-qualifying.
§ 825.208(a)(l)-(2). A “serious health condition” that would qualify for FMLA leave

means an illness, injury, impairment, or physical or mental condition that

involves_
(A) inpatient care in a hospital, hospice, or residential medical care
facility; or
(B) continuing treatment by a health care provider.
29 U.S.C. § 2611(11). The regulations further explain what is meant by a serious health
condition involving continuous treatment by a health care provider:
(2) A serious health condition involving continuing treatment by a health
care provider includes any one or more of the following:
(i) A period of incapacity (i.e., inability to work, attend school or

perform other regular daily activities due to the serious health
condition, treatment therefore, or recovery therefrom) of more than

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three consecutive calendar days, and any subsequent treatment or
period of incapacity relating to the same condition, that also involves:

(B) Treatment by a health care provider on at least one

occasion which results in a regimen of continuing treatment
under the supervision of the health care provider.

29 C.F.R. § 825.114(a)(2)(i).

Plaintiff alleges in the complaint that he was attempting to request FMLA-qualifying
leave when he left the papers Dr. Hendren had given him with McCartney’s receptionist on
June 24, 2002, but was prevented from doing so. Plaintiff testified:

I told them that l have some medical papers up here that 1 want to return to

them for and try to get some medical relief papers, medical papers up there.

And what she told me was that she said leave them at the front desk.

(Pl.’s Dep. at 93-94.) Plaintiff also testified that, during the June 25 meeting with
McCartney, at which he was told he was being discharged:

Well, I asked her did she get the medical papers that I had left out there for me

being off from work, you know, that I was off work, they were going to do a

sleep study on me and she told me, no, I didn’t see them.

I_d at 101. This testimony fails to show that plaintiff made a request that was sufficiently
specific to put McCartney on notice that he Was requesting medical leave.

In any event, even if plaintiff s “request” for medical leave is deemed sufficient, the
only information McCartney could have considered at the time of his discharge Was the
documentation showing that Dr. Hendren had scheduled a sleep study for plaintiff, on which

she had noted “possible sleep apnea.” Dr. Hendren made no actual diagnosis of any serious

health condition at that time. There is no evidence that she placed any restrictions on

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plaintiffs activities, prescribed any specific treatment, or recommended that he be off work
until the sleep study could be done. Furthermore, as indicated, plaintiff himself testified that
at the time of his discharge he was fully able to perform his job, without limitations or
restrictions I_d at 130-31, 137.

Plaintiff has failed to offer any evidence to refute that submitted by the defendant
Consequently, the evidence is undisputed that plaintiff was not entitled to FMLA leave
because he did not, at any time prior to his discharge, give notice of a serious health
condition which made him unable to perform the hanctions of his position Therefore, the
defendant is also entitled to judgment as a matter of law of plaintiffs FMLA claim.

Conclusion

For the foregoing reasons, the defendant’s motion for summary judgment is hereby
GRANTED as to all of plaintiffs claims The Clerk of Court is directed to prepare a
judgment accordingly

IT IS SO ORDERED.

WL.W

JAM D. TODD
UNI D STATES DISTR_ICT JUDGE

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Honorable .l ames Todd
US DISTRICT COURT

